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         LJW USAO# 2010R00991

                                      IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MARYLAND

             UNITED STATES OF AMERICA                              *
                                                                   *
                      v.                                           *      CRIMINAL NO. WDQ-II-052
                                                                   *
         William G. HILLAR                                         *      (Mail Fraud, 18 U.S.c. ~ 1341;
                                                                   *      Wire Fraud, 18 U.S.c. ~ 1343)
                              Defendant                            *
                                                                   *
                                                                *******
                                                 SUPERSEDING INDICTMENT

                                                             COUNTS 1-13
                                                              (Mail Fraud)

                      The Grand Jury for the District of Maryland charges:

                      At all times relevant to this Indictment:

             1.       Defendant WILLIAM G. HILLAR, resided in Anne Arundel County, Maryland, and is the

                      principal of Bill Hillar Training ..

                                                     The Scheme to Defraud

             2.       From in and around 1998 and continuing until in or around January 25,2011, in the District

                      of Maryland and elsewhere, the defendant,

                                                    WILLIAM G. HILLAR

                      knowingly and willfully devised and intended to devise a scheme and artifice to defraud the

                      Monterey Institute ofInternational Studies, the University of Oregon, the Federal Executive

                      Board of Los Angeles, and others to obtain money and property by means of materially false

                      and fraudulent pretenses, representations and promises ("the scheme to defraud").



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                              Object of the Scheme to Defraud

3.   It was the object of the scheme to defraud that defendant WILLIAM G. HILLAR falsely

     represented his professional and educational credentials to public and private organizations

     including universities, government agencies, law enforcement organizations and others in

     order to obtain payment for leading workshops, teaching courses and giving speeches.

                                      Manner and Means

4.   HILLAR has been teaching, leading workshops, giving speeches, and conducting training for

     public and private sector clients for at least the past twelve (12) years under fraudulent

     pretenses.

5.   HILLAR conducts these activities through a business named "Bill Hillar Training."        Bill

     Hillar Training is also the registrant for <billhillartraining.com>.

6.   HILLAR has advertised himself as a speaker and trainer through various media including the

     world wide web.       The website <billhillartraining.com>       provided the following false

     biographical statement for HILLAR, "William G. Hillar is a retired Colonel ofthe U.S. Army

     Special Forces. He has served in Asia, the Middle East, and Central and South America,

     where his diverse training and experiences included tactical counter-terrorism, explosive

     ordnance, emergency medicine and psychological warfare." Further, a resume provided by

     HILLAR to at least one of his clients falsely states that HILLAR received a Ph.D. from the

     University of Oregon.




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7.   From on or around 1998 to 2010, the following organizations, among others, paid HILLAR

     at least$164,057. 70 for teaching, leading workshops and speaking:

      ORGANIZA nON                                                          DATE          AMOUNT

      University of Oregon                                                  2002-2010      $33,025.00

      Monterey Institute of International Studies                           2005-20 I0     $32,500.00

      Federal Executive Board of Los Angeles                                2000-20 I0     $27,140.00

      Federal Bureau of Investigation (FBI) Command College                 2000-2010      $17,369.38

      Montana Sheriff and Peace Officers Association                        6/1 1/2003      $9,500.00

      Utah Valley State College                                             2007-2008       $8,430.00

      State Training and Audit Resource Seminar (STARS) 2007 conference     12/1 1/2007     $4,000.00

      U.S. Army (APG)                                                       3/5/2007        $3,625.00

      National Law Enforcement Telecommunications        Systems (NLETS)    5/30/2008       $3,129.00
      2008 Conference

      College of Southern Maryland                                          2005-2006       $3,088.75

      Salt Lake City Corporation                                            9/9/2010        $2,583.00

      Murray City Corporation                                               10/29/2009      $2,400.00

      Drug Enforcement Agency (DEA)                                         10/9/2009       $2,400.00

      Southwestern Oregon Fire Instructors Association                      5/12/2008       $2,241.00

      U.S. Department of Interior, Bureau of Indian Affairs                 3/1 1/2010      $2,135.50

      California Fire Chiefs Association                                    10/4/2007       $ I ,980.8 I

      City of Lander, WY                                                    8/25/2010       $1,800.00

      City of Redmond                                                       6/10/2010       $1,609.00

      Georgia Terminal Agency Coordinators (T AC) Conference                10/3/2008       $1,240.50

      FBI Salt Lake City Division                                           4/21/1998       $1,010.00

      FBI Chicago Division                                                  6/4/2002        $1',000.00

      Freemont County Community College                                     9/23/2010       $1,000.00

      Illinois Drug Enforcement Officers Association                        3/10/2002         $850.00

                                                                    TOTAL                 $164,057.70




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8.    At the Monterey Institute, HILLAR taught twelve (12) courses/workshops,       including

      courses on human trafficking and tactical counter terrorism. The Monterey Institute hired

      HILLAR based upon his purported experience and credentials including, but not limited

      to, his experience in the U.S. Army Special Forces, and his educational background

      including a Ph.D.

9.    During his tenure at the University of Oregon, HILLAR taught approximately eighteen

      (18) courses and workshops on topics including human trafficking, international drug

      smuggling, drug trafficking, international drug trafficking and tactical counter terrorism.

      The University of Oregon hired HILLAR based upon his purported "real world"

      experience serving in the U.S. Army.

10.   HILLAR provided the University of Oregon with a resume that included false

      information in order to secure employment with the university and later provided, on at

      least one occasion, another resume that included false information in order to continue

      teaching for compensation at the University. That resume contained information that

      Hillar served in the U.S. Army from 1962- 1990.

11.   In addition to teaching at these two universities, HILLAR gave speeches to law

      enforcement and public safety organizations including, among others, the California Fire

      Chiefs Association for compensation.     The California Fire Chiefs Association hired

      HILLAR to speak based on his purported experience as a retired Colonel in the U.S.

      military and his educational credentials, including his Ph.D.




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                                             The Charge

12.       On or about the dates shown below, in the District of Maryland, the defendant,

                                      WILLIAM G. HILLAR

          for the purpose of executing and attempting to execute the scheme to defraud, did

          knowingly cause to be delivered by mail to according to the direction thereon, mail matter

          as shown below:



 COUNT         DATE         FROM                           TO                     CONTENTS

      1          2/28/06    Monterey Institute of          William G. Hillar,     First National Bank
                            International Studies,         472 Old Orchard        check #131581 in the
                            Monterey, CA                   Circle, Millersville   amount of $2,500.00
                                                           MD 21108

      2         5/03/06     Monterey Institute of          William G. Hillar,     First National Bank
                            International Studies,         472 Old Orchard        check # 134990 in the
                            Monterey, CA                   Circle, Millersville   amount of $2,500.00
                                                           MD 21108

      3         10/11/06    Monterey Institute of          William G. Hillar,     First National Bank
                            International Studies,         472 Old Orchard        check #137622 in the
                            Monterey, CA                   Circle, Millersville   amount of $2,500.00
                                                           MD 21108

      4        5/23/07      Monterey Institute of          William G. Hillar,     First National Bank
                            International Studies,         472 Old Orchard        check #10000355 in
                            Monterey, CA                   Circle, Millersville   the amount of
                                                           MD 21108               $2,500.00

      5         10/03/07    Monterey Institute of          William G. Hillar,     First National Bank
                            International Studies,         472 Old Orchard        check # 10002636 in
                            Monterey, CA                   Circle, Millersville   the amount of
                                                           MD 21108               $2,500.00

      6         3/05/08     Monterey Institute of          William G. Hillar,     First National Bank
                            International Studies,         472 Old Orchard        check #10005164 in
                            Monterey, CA                   Circle, Millersville   the amount of
                                                           MD 21108               $2,500.00


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COUNT        DATE        FROM                           TO                     CONTENTS

    7        10/08/08    Monterey Institute of          William G. Hillar,     First National Bank
                         International Studies,         472 Old Orchard        check #10008423 in
                         Monterey, CA                   Circle, Millersville   the amount of
                                                        MD 21108               $3,000.00

    8        3/11/09     Monterey Institute of          William G. Hillar,     First National Bank
                         International Studies,         472 Old Orchard        check #10010791 in
                         Monterey, CA                   Circle, Millersville   the amount of
                                                        MD 21108               $3,000.00

    9        07/07/1 0   Monterey Institute of          William G. Hillar,     Wells Fargo check
                         International Studies,         472 Old Orchard        #10017082 in the
                         Monterey, CA                   Circle, Millersville   amount of$2,145.00
                                                        MD 21108

    10       11/3/1 0    Monterey Institute of          William G. Hillar,     Wells Fargo check #
                         International Studies,         472 Old Orchard        10018656 in the
                         Monterey, CA                   Circle, Millersville   amount of $2,040.00
                                                        MD 21108

    11       11/03/06    University of Oregon           William G. Hillar,     check # 52228618 in
                         Eugene, OR                     472 Old Orchard        the amount of
                                                        Circle,                $1,200.00
                                                        Millersville, MD
                                                        21108

    12       1/30/07     University of Oregon           William G. Hillar,     check # 5225027 in the
                         Eugene, OR                     472 Old Orchard        amount of $1 ,200.00
                                                        Circle,
                                                        Millersville, MD
                                                        21108

    13       7/18/07     University of Oregon           William G. Hillar,     check # 52291935 in
                         Eugene, OR                     472 Old Orchard        the amount of
                                                        Circle,                $1,575.00
                                                        Millersville, MD
                                                        21108

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                                         COUNTS 14-16
                                          (Wire Fraud)


       And the Grand Jury for the District of Maryland further charges:

1.     The allegations contained in paragraphs 1 through 11 of Counts 1-13 are re-alleged and

incorporated by reference as though fully set forth herein.

2.     From in and around 1998 and continuing until in or around January 25, 2011, in the

District of Maryland and elsewhere, the defendant,

                                     WILLIAM G. HILLAR

knowingly and willfully devised and intended to devise a scheme and artifice to defraud and to

obtain money and property by means of materially false and fraudulent pretenses,

representations, promises and material omissions.

       3. For the purpose of executing the scheme and artifice to defraud, the defendant did

knowingly transmit and cause to be transmitted in interstate commerce, by means of a wire

communication, certain signs, signals and sounds as set forth in the Counts below:



 COUNT         DATE              ITEM

     14        10/3/07           Wire communications in interstate commerce, of signs, signals
                                 and sounds from Severna Park, MD to Eugene, OR, to wit: a
                                 fascimile "Statement" requesting payment for and
                                 reimbursement of expenses associated with a speech HILLAR
                                 gave to the California Fire Chiefs Association Annual
                                 Conference and Leadership Seminar, September 24-27,2007, in
                                 the amount of $1 ,980.81




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 COUNT        DATE          ITEM
     15       6/29/2010     Wire communications in interstate commerce, of signs, signals
                            and sounds from Millersville, MD to Eugene, OR, to wit: an e-
                            mail from HILLAR to an official at the University of Oregon
                            directing that official to HILLAR's "bio" on his website
                            www.billhillartraining.com; attached to this e-mail was a
                            resume for HILLAR.


     16        10/15/2010   Wire communication in interstate commerce, of signs, signals
                            and sounds from Severna Park, MD to Monterey, CA, to wit: a
                            facsimile "Statement" signed by HILLAR and faxed from "The
                            UPS Store" #0871 in Severna Park, MD, to the Monterey
                            Institute of International Studies requesting payment in the
                            amount of$3,000.00 for a "Human Trafficking Workshop"
                            conducted by HILLAR on October 8-10, 2010.



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                                 FORFEITURE ALLEGATIONS

        As a result of the offense set forth in Counts 1-16, the defendant,

                                      WILLIAM G. HILLAR

shall forfeit to the United States all property constituting, or derived from, any proceeds obtained,

directly or indirectly, as a result of that offense, and all property traceable to such property,

including but not limited to $164,057.70 and all interest and proceeds traceable thereto.

18 U.S.C. section 982(a)(2)and (4).

                                      SUBSTITUTE ASSETS


        Ifany of the $164,057.70 described above as being subject to forfeiture, as a result of any

act or omission of the defendant,

        a.      cannot be located upon the exercise of due diligence;

        b.      has been transferred or sold to, or deposited with, a third person;

        c.      has been placed beyond the jurisdiction of the Court;

        d.      has been substantially diminished in value; or

        e.      has been commingled with other property which cannot be subdivided without

                difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code Section 853(p) to

seek forfeiture of any other property of the defendant up to the value of the property charged with

forfeiture above, including but not limited to the following:




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             The funds and property held by LPL Financial, Investment   Account #6899-6851,

      Primary account holder, William G. Hillar,   472 Old Orchard Circle, Millersville, MD 21108.




      A TRUE BILL:



      SIGNATURE REDACTED
      FOREPERSON




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